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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION



UNITED STATES OF AMERICA,

v.                                                                     4:92cr4013-WS

MICHAEL MORGAN,                                                        4:04cv382-WS

                     Defendant.



                   ORDER ADOPTING THE MAGISTRATE JUDGE’S
                       REPORT AND RECOMMENDATION

       Before the court is the magistrate judge's report and recommendation (doc.

1634) docketed July 25, 2005. The magistrate judge recommends that the defendant's

amended motion to vacate sentence (doc. 1626) be summarily dismissed as untimely.

The defendant has filed objections (doc. 1637) to the report and recommendation.

       Upon review of the record in light of the defendant’s objections, the court has

determined that the magistrate judge’s report and recommendation must be adopted.

       Accordingly, it is ORDERED:

       1. The magistrate judge's report and recommendation (doc. 1634) is adopted

and incorporated by reference in this order of the court.
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       2. The defendant’s amended motion to vacate sentence (doc. 1626) is hereby

summarily DISMISSED as untimely.

       3. The clerk shall enter judgment accordingly and shall close Case No.

4:04cv382-WS.

       DONE AND ORDERED this August 19, 2005.




                                        /s William Stafford
                                        WILLIAM STAFFORD
                                        SENIOR UNITED STATES DISTRICT JUDGE




Case No. 4:04cv382-WS
